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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WILLIAM F. GROULX, > Civil No. 3:17-cv-1224
Petitioner ; (Judge Mariani)
; ;
MARK GARMAN,
Respondent

| ORDER

AND NOW, wl of September, 2020, upon consideration of the petition for
writ of habeas corpus, filed pursuant to 28 U.S.C. § 2254, and for the reasons set forth in the
Court’s Memorandum of the same date, IT IS HEREBY ORDERED THAT:

1. The petition for writ of habeas corpus (Doc. 1) is DENIED.

2. There is no basis for the issuance of a certificate of appealability. See 28
U.S.C. § 2253(c)(2).

3. The Clerk of Court is directed to CLOSE this case.

   

[A (ich
Robert D. Mariani
United States District Judge
